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 5

 6
                UNITED STATES DISTRICT COURT
 7
                     DISTRICT OF NEVADA
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10
     UNITED STATES OF AMERICA,                       )   2:08-cr-00064-RLH-GWF
11                                                   )
                           PLAINTIFF,                )   UNITED STATES' MOTION TO DISMISS
12                                                   )   COUNTS TEN AND FOURTEEN OF THE
     VS.                                             )   SUPERSEDING INDICTMENT
13                                                   )   RETURNED FEBRUARY 16, 2011, AS TO
     EVE E. MAZZARELLA,                              )   DEFENDANT EVE MAZZARELLA
14                                                   )
                           DEFENDANT.                )
15                                                   )
                                                     )
16
              The United States of America, by and through Daniel G. Bogden, United States Attorney,
17
     Brian Pugh and Sarah E. Griswold, Assistant United States Attorneys, moves to dismiss Counts
18
     Ten and Fourteeen of the Superseding Indictment returned February 16, 2011, but only as to
19
     defendant Eve Mazzarella.
20
              Respectfully submitted this 8th day of December 2011.
21
                                                     DANIEL G. BOGDEN
22                                                   United States Attorney
23                                                   /s/ Sarah E. Griswold
24     IT IS SO ORDERED.                             BRIAN PUGH
                                                     SARAH E. GRISWOLD
25                                                   Assistant United States Attorneya
26     ______________________________
       UNITED STATES DISTRICT JUDGE

       DATED: December 13, 2011
